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                         Nos. 20-1046, -2050
             UNITED STATES COURT OF APPEALS
                FOR THE FEDERAL CIRCUIT

          KYOCERA SENCO INDUSTRIAL TOOLS, INC.,
                fka Kyocera Senco Brands Inc.,
                                               Appellant,
                              v.

             INTERNATIONAL TRADE COMMISSION,
                                         Appellee,

  KOKI HOLDINGS AMERICA LTD., fka Hitachi Koki U.S.A. Ltd.,
                                           Intervenor.


  KOKI HOLDINGS AMERICA LTD., fka Hitachi Koki U.S.A. Ltd.,
                                           Appellant,
                         v.

             INTERNATIONAL TRADE COMMISSION,
                                         Appellee,

          KYOCERA SENCO INDUSTRIAL TOOLS, INC.,
                fka Kyocera Senco Brands Inc.,
                                               Intervenor.

    Appeal from the United States International Trade Commission in
                    Investigation No. 337-TA-1082

BRIEF OF APPELLEE INTERNATIONAL TRADE COMMISSION


CLINT A. GERDINE                      DOMINIC L. BIANCHI
Attorney Advisor                      General Counsel
Office of the General Counsel         Telephone (202) 205-3061
U.S. International Trade Commission
500 E Street, SW                      SIDNEY A. ROSENZWEIG
Washington, DC 20436                  Acting Assistant General Counsel
Telephone (202) 708-2310              Telephone (202) 708-2532
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                     STATEMENT OF RELATED CASES

      The present appeal and cross-appeal are from Appellee U.S. International

Trade Commission’s (“Commission’s”) final determination in Certain Gas Spring

Nailer Products and Components Thereof, Inv. No. 337-TA-1082. Apart from the

proceedings Appellant Kyocera Senco Industrial Tools Inc. fka Kyocera Senco

Brands Inc. (“Kyocera” or “Complainant”) and Cross-Appellants Koki Holdings

America Ltd. fka Hitachi Koki U.S.A. Ltd. (“Koki” or “Respondent”) identified in

their opening briefs, the Commission is not aware of any related cases.


                           STATEMENT OF THE ISSUES

      Kyocera appeals the Commission’s final determination finding no violation

of 19 U.S.C. § 1337 based on non-infringement and the preclusion of expert

testimony concerning infringement under the doctrine of equivalents with respect

to asserted U.S. Patent Nos. 8,267,296 (“the ’296 patent”); 8,267,297 (“the ’297

patent”); 8,286,722 (“the ’722 patent”); and 8,602,282 (“the ’282 patent”)

(collectively, “the Driven-Position Patents”). Kyocera’s appeal raises two issues:

      (1)    Whether the Commission abused its discretion in precluding

             Kyocera’s expert from offering testimony concerning infringement

             under the doctrine of equivalents by finding that he did not have

             sufficient relevant technical expertise to be allowed to testify on this

             matter; and

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      (2)    Whether the Commission properly construed the term “driven

             position” of the asserted Driven-Position Patents to mean “at the

             bottom-most travel position” in accordance with the intrinsic record.

      Koki appeals the Commission’s final determination finding a violation of

section 337 based on its accused products literally infringing asserted claims 1, 10,

and 16 of U.S. Patent No. 8,387,718 (“the ’718 patent”). Koki’s cross-appeal

raises four issues:

      (1)    Whether the Commission properly construed the term “lifter member”

             not to be subject to 35 U.S.C. § 112, ¶ 6 where “lifter” connotes

             structure and where the patent specification defines “lifter member.”

      (2)    Whether substantial evidence supports the Commission’s finding that

             the limitation “initiating a driving cycle” was met by Koki’s accused

             products based on an undisputed construction;

      (3)    Whether substantial evidence supports the Commission’s finding that

             the asserted Pedicini prior art does not disclose “a main storage

             chamber,” where the agreed-upon construction for this term requires

             that the chamber be “distinct” from the volume of the cylinder within

             the driving tool; and

      (4)    Whether the Commission abused its discretion in permitting

             Kyocera’s expert to offer testimony concerning literal infringement

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             and invalidity, which did not have the same difficulties and

             complexities as the doctrine of equivalents.


                          STATEMENT OF THE CASE

      Kyocera’s and Koki’s Statements of the Case include an incomplete

description of all the relevant facts and findings before the Commission. The

Commission therefore presents its own Statement of the Case.

      The Commission instituted this investigation on November 20, 2017, based

on a complaint filed by Kyocera alleging, inter alia, Koki’s infringement of the

five patents at issue on appeal. Appx2.

      On May 3, 2018, the presiding administrative law judge (“ALJ”) issued a

Markman Order (Order No. 9) construing the relevant terms of the asserted

patents. Appx211-261. On October 24, 2018, the ALJ issued Order No. 28,

granting in part Koki’s motion in limine to exclude Kyocera’s expert testimony

concerning infringement under the doctrine of equivalents. Appx267. As the ’718

patent was the only patent for which Kyocera alleged literal infringement, the

parties agreed that the evidentiary hearing, i.e., trial, would go forward only as to

the ’718 patent. Appx2284. On June 7, 2019, the ALJ issued an initial

determination (“ID”) finding no violation of section 337. Appx95.

      On August 14, 2019, the Commission determined to review certain findings

of the ID and remanded other issues to the ALJ. Appx4. On October 28, 2019, the

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ALJ issued a remand initial determination (“RID”), again finding no violation of

section 337. Appx4. On December 12, 2019, the Commission reviewed certain

findings of the RID. Appx5. On March 5, 2020, the Commission issued its final

determination, finding a violation of section 337 based on induced infringement of

the asserted claims of the ’718 patent by Koki. Appx5-6. As a remedy, the

Commission issued a limited exclusion order directed to infringing gas spring

nailer products and components thereof, and a cease and desist order directed to

Koki after considering the public interest. Appx4125-4141.


I.    THE ASSERTED PATENTS

      There are five asserted patents on appeal; all claim priority to the same

provisional patent application and have substantially identical written descriptions.

Although the asserted patents contain differences in the Summary of the Invention

section, those differences are not relevant to the issues on appeal; the drawings,

brief description of the drawings, and the detailed description of the invention are

the same among the asserted patents.

      The asserted patents are directed to portable linear fastener driving tools (or

nailers) that can drive staples, nails, or other fasteners into a workpiece. Appx559

(1:17-19). Specifically, the disclosed invention is directed to driving tools that use

a “gas spring” concept, in which pressurized air forces a piston through a driving



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stroke movement, which ultimately drives a fastener into a workpiece. Appx559

(1:19-23); see also Appx512 (Abstract).

      Prior art gas spring nailers suffer from various shortcomings, including

having too many moving parts, requiring regular replenishment of pressurized gas

during normal operation of the device that increases the risk of gas leaks, and

requiring combustion of gas. Appx559 (1:38-62). The asserted patents purport to

solve these problems by providing a specific configuration that uses a “working

storage volume” comprising a combination of a main storage chamber and a

cylinder displacement volume; this combination avoids the use of a gas

replenishment system on-board the driving tool. Appx559 (2:19-26).


      A.     The Asserted Claims

      As to the ’718 patent, Kyocera alleged induced infringement of independent

method claims 1, 10, and 16. Appx124. Asserted independent claim 1 of the ’718

patent is representative of the asserted claims of that patent, and reads as follows,

with the terms at issue on appeal italicized:

             1. A method for controlling a fastener driving tool, said
                method comprising:

                (a) providing a fastener driving tool that includes: (i)
                    a housing; (ii) a system controller; (iii) a safety
                    contact element; (iv) a user-actuated trigger; (v) a
                    fastener; (vi) a prime mover that moves a lifter
                    member which moves a driver member away from
                    an exit end of the mechanism; and (vii) a fastener

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         driving mechanism that moves said driving
         member toward said exit end of the mechanism,
         said fastener driving mechanism including:

       (A) a hollow cylinder comprising a cylindrical
          wall with a movable piston therewithin, said
          hollow cylinder containing a displacement
          volume created by a stroke of said piston, and

       (B) a main storage chamber that is in fluidic
          communication with said displacement volume
          of the cylinder, wherein said main storage
          chamber and said displacement volume are
          initially charged with a pressurized gas;

    (b) selecting, by a user, an operating mode of said
        driving cycle to be one of: a “bottom firing
        mode,” and a “restrictive firing mode;” wherein

    (i) if said restrictive firing mode is selected, said tool
        will operate if said safety contact element has been
        actuated before said trigger actuator has been
        operated; and

    (ii) if said bottom firing mode is selected, said tool
         will operate if both:

       (A) said trigger actuator has been operated, and
       (B) said safety contact element has been actuated,
          in either sequence;

    (c) initiating a driving cycle by pressing said exit end
        against a workpiece and actuating said trigger,
        thereby causing said fastener driving mechanism
        to force the driver member to move toward said
        exit end and drive a fastener into said workpiece;
        and

    (d) actuating said prime mover, thereby moving said
        lifter member and causing said driver member to
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                     move away from said exit end toward a ready
                     position.

Appx577 (37:52-38:25) (emphasis added).

      The asserted claims from the Driven-Position Patents are apparatus claims.1

All of the claims recite a “driven position,” which does not appear in the asserted

claims of the ’718 patent. Claim 1 of the ’296 patent is representative of the claims

of the Driven-Position Patents, and recites in relevant part, with the “driven

position” term at issue on appeal italicized:

             1.     A fastener driving tool, comprising:

             ***

             (d) a lifter member which exhibits a contact surface that,
             at predetermined locations along said contact surface,
             makes contact with said plurality of spaced-apart
             protrusions of said driver member such that, when said
             lifter member is moved in a first direction, it causes a
             return stroke of an operating cycle and moves said driver
             member from a driven position toward a ready position,
             and when said lifter member is moved to a holding
             position, it temporarily holds said driver member at said
             ready position by use of a holding contact between said
             lifter member and said driver member; and

             (e) a main storage chamber that is in fluidic
             communication with said displacement volume of the
             driver actuation device, wherein:

1
       Kyocera asserted the following claims of the Driven-Position Patents:
(1) claims 1 and 11 of the ’296 patent; (2) claims 1 and 32 of the ’297 patent; (3)
claims 1 and 16 of the’722 patent; and (4) claim 1 of the ’282 patent. Appx219;
Appx222-223; Appx228.

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             ***

                   (ii) when actuated for a driving stroke of said
                   operating cycle, said lifter member moves in said
                   first direction from said holding position and
                   releases said driver member from said holding
                   contact, and said movable member of the driver
                   actuation device is moved by said pressurized gas
                   and moves said driver member from said ready
                   position to said driven position….

Appx369 (40:18-64) (emphasis added).


      B.     The Patent Specification

      As discussed above, the patents share a common specification for purposes

of this appeal. That specification discloses alternative embodiments. See, e.g.,

Appx560-562 (4:7-7:7) (Brief Description of the Drawings). As will be discussed

in the Argument, infra, Kyocera and Koki argue that differences between the

embodiments are pertinent to the appeal.


             1.     The First Embodiment

      The first embodiment describes a fastener driving tool 10 that is

designed to linearly drive fasteners such as nails and staples. Appx562

(7:29-30). It is illustrated in FIG. 1 of the patents:




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Appx514 (FIG. 1). The tool 10 includes a handle portion 12 (top center), a

fastener driving portion 14 (top left), a fastener magazine portion 16 (bottom

right), and a fastener exit portion 18 (bottom left). Appx562 (7:30-32). The

driving tool 10 also includes a motor 40 (center right) which acts as a prime

mover for the tool, and which has an output that drives a gearbox 42 (also

center right). The handle portion 12 includes a printed circuit board 50

(center) that contains a controller. Appx562 (8:1-3, 10-12). A trigger switch
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52 is activated by a trigger actuator 54. Appx562 (8:12-13). As shown in

FIG. 1 (above), the handle portion 12 is designed for gripping by a human

hand, and the trigger actuator 54 is designed for linear actuation by a

person’s finger while gripping the handle portion 12. Trigger switch 52

provides an input to the control system 50. Appx562 (8:14-19).

      On appeal, the parties dispute the limitations “a main storage

chamber,” “initiating a driving cycle,” “driven position,” and “lifter

member.” The “initiating a driving cycle” limitation also relates to the

“safety contact element” limitation, and the “main storage chamber”

limitation relates to the “displacement volume” limitation. Accordingly, the

portions of the specification disclosing these limitations are discussed below.

More detailed discussion of these limitations is presented infra, in the

argument sections for Kyocera and Koki.


                    a.     Safety Contact Element and Initiating a Driving Cycle

      As shown above in FIG. 1, “[t]he area of the first embodiment [of the

fastener driving] tool 10 in which a fastener is released is indicated approximately

by the reference numeral 30, which is the ‘bottom’ of the fastener exit portion of

tool 10.” Appx562 (7:44-47). Before the tool is actuated, i.e., before “initiating a

driving cycle,” a safety contact element 32 extends beyond the bottom 30 of the

fastener exit, and this extension of the safety contact element is depicted at 34,

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“which is the bottom or ‘front’ portion of the safety contact element.” Appx562

(7:47-51). The ’718 specification discloses various types of firing (or driving)

modes for using the tool 10 to drive fasteners into a workpiece. Appx565 (14:43-

61). For any driving mode, the tool nose 34, i.e., the nose of the safety contact

element 32, is pressed against a work surface to cause the drive stroke to occur.

Appx565 (14:43-55).


                   b.      Main Storage Chamber, Displacement Volume, and
                           Driven Position

      As shown in FIG. 2 below, the fastener driver portion 14 includes a working

cylinder 71 that has a cylinder wall 70, and within the wall 70 is a piston 80

interconnected to a driver 90. Appx562 (8:29-33, 44-49).




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Appx515 (FIG. 2).

      Surrounding the cylinder wall is a main storage chamber 74. Appx562

(8:37-41). In operation, the piston 80 moves up and down in the chamber 74,

within the cylinder wall 70, to deliver a driving stroke, via the driver 90, to drive a

fastener into a workpiece, i.e., a solid object. Appx562-563 (8:44-49, 9:57-10:3).

Each driving, i.e., downward, stroke of the piston 80 creates a displacement

volume 76 in the cylinder 70, all within the chamber 74, where this displacement
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volume, as well as the volume of the main storage chamber, are at their combined

maximum when the piston 80, as well as the driver 90, are in their bottom-most

travel position, i.e., “the driven position,” as shown in FIG. 3 below. Appx563

(10:22-27, 30-33).




Appx516 (FIG. 3).

      The specification defines the “displacement volume” as the portion

interior to the cylindrical wall 70 that is created by the stroke of the piston

80. Specifically, with respect to the relationship between the main storage
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chamber 74 and the displacement volume (or gas pressure chamber) 76, the

specification discloses, with reference to FIG. 2 (shown above), that:

             It will be understood that the gas pressure chamber 76 and
             the main storage chamber (or storage space) 74 are in
             fluidic communication with one another. It will also be
             understood that the portion to the interior of the cylinder
             wall 70 forms a displacement volume that is created by the
             stroke of the piston 80. In other words, the gas pressure
             chamber 76 is not a fixed volume, but this chamber will
             vary in volume as the piston 80 moves up and down (as
             seen in FIG. 2). This type of mechanical arrangement is
             often referred to as a “displacement volume,” and that
             terminology will mainly be used herein for this non-fixed
             volume 76.

Appx563 (9:60-10:3) (emphasis added); see also Appx515 (FIG. 2).


                    c.     Lifter Member

      The driving tool 10 also includes a rotary-to-linear lifter 100 that is

referred to as the “lifter member” or the “lifter.” Appx562 (8:48-52). The

lifter 100 includes four protruding pins 104, 106, 108, and 114. Appx516

(FIG. 3). When the lifter rotates counterclockwise (as shown in FIG. 3

above), the pins come into contact with teeth 92 along the left side of the

driver 90, serving to “lift” the driver upward in preparation for the driving

stroke. Appx563 (10:49-58). In the first embodiment, pin 114 protrudes

from a side opposite to those of the other pins and is used by the tool 14 to

sense the movement of the lifter 100 and trigger a locking feature for the


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driver when it reaches a top-most, or “ready,” position. Appx563 (9:15-24);

Appx564 (11:7-11, 27-59).


             2.    The Second Embodiment

      On appeal, the parties dispute certain limitations with respect to the second

embodiment disclosed in the asserted patents. Kyocera contends that the second

embodiment informs the construction for “driven position,” Kyocera Br. 14-15, 21-

27, and Koki contends that this embodiment omits using the “nose” of the safety

contact element to actuate the tool, Koki Br. 15-16, 63-77.

      FIGs. 16-18 and 20 of the ’718 patent illustrate a second embodiment of a

fastener driving tool 401 that includes a safety contact element 418 (bottom right).

Appx568 (19:57-59; 20:10-14). FIG. 16 shows a representative cross-section:




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Appx532 (FIG. 16). In comparison to FIG. 1, where magazine housing 60 is

parallel to the work surface, the magazine housing 445 in FIG. 16 is placed at an

upward angle. Compare Appx532 (FIG. 16) with Appx514 (FIG. 1).

      The written description contains a passage regarding the safety contact

element 418 that is substantially identical to the passage for the first embodiment

but for numbering. Compare Appx568 (20:10-14) (“Before the tool is actuated,

[the] safety contact element 418 extends beyond the bottom 417 of the fastener

exit, and this extension of the safety contact element is depicted at 419, which is


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the bottom or ‘front’ portion of the safety contact element.”) with Appx562 (7:47-

51) (“Before the tool is actuated, a safety contact element 32 extends beyond the

bottom 30 of the fastener exit, and this extension of the safety contact element is

depicted at 34, which is the bottom or ‘front’ portion of the safety contact

element.”).

      FIG. 20, which shows the piston, is substantially the same as FIG. 3:




Appx536 (FIG. 20). The key difference between FIGs. 3 and 20, which is not at

issue on appeal, is that the second embodiment uses a magnet 414, instead of the
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pin 114 of FIG. 3, to sense the movement of the lifter 400 and trigger the locking

feature for the driver 490. Appx569 (22:51-58). The patent contains the same

description for FIGs. 3 and 16, stating that each figure is “another perspective view

from the side . . . better showing the driver mechanism, with the piston at its lowest

‘driven’ position.” Appx561 (5:5-9, 63-67). Likewise, the descriptions in the

Detailed Description of the Invention are substantially the same, compare

Appx563 (10:22-48) with Appx570 (24:9-36). Kyocera’s opening brief contends

that a difference in the two passages at Appx563 (10:22-27) and Appx570 (24:9-

15) informs the meaning of “driven position.” Kyocera Br. 12-15, 23-27. The

Commission will address these passages in Part II of the Argument, infra.


II.   THE ACCUSED PRODUCTS

      Before the Commission, Kyocera accused five Koki gas spring nailers: the

NT1850DE, NT1865DM, NT1865DMA, NR1890DC, and NR1890DR nailers

(collectively, “the accused products”). Appx2305; see also Appx105. The

differences among those products are not pertinent to the issues on appeal. The

NT1865DM is pictured at a high level below:




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Appx3979. In the accused products, the exit end of the mechanism, i.e., the end of

the push lever (or safety contact element), is pressed against the workpiece to

allow a driving cycle to begin. Appx3970; see also Appx799 (Q/A 203).


III.   PROCEEDINGS BEFORE THE COMMISSION

       A.    Commission Findings Pertinent to Both Appeals

             1.    The ALJ’s Markman Order (Order No. 9)

       Patent claims are construed from the vantage point of a person of ordinary

skill in the art at the time of the invention (“POSA”). Phillips v. AWH Corp., 415

F.3d 1303, 1313 (Fed. Cir. 2005). In Markman proceedings before the ALJ, Koki

submitted that:

             [a] person of ordinary skill in the art relevant to the
             Asserted Patents would have either (i) a Master’s Degree
             in mechanical engineering with at least two years of
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             experience in power[ed] nailer design; (ii) a Bachelor’s
             Degree in mechanical engineering with at least five years
             of experience in powered nailer design; or, (iii) ten or more
             years of experience in powered nailer design. This
             experience in powered nailer design would include
             mechanical design, tool design, manufacturing, mechanics
             of materials, stress analysis, ergonomics, and human
             factors.

Appx217; Appx1476 (citing Appx1525-1526 (¶ 22)). Kyocera did not offer a level

of ordinary skill, nor did it identify any fault with Koki’s proffered level of

ordinary skill. Kyocera’s expert, Dr. John D. Pratt, applied only Koki’s level of

ordinary skill for Kyocera’s proposed claim constructions. Appx217 (citing

Appx1676 (¶¶ 24-25)). The Markman Order adopted Koki’s proposed level of

ordinary skill in the art. Appx217-218. Specific claim constructions pertinent to

this appeal are discussed, infra, in connection with the Commission’s findings.

The ALJ’s claim construction for “lifter member” is discussed below in the

subsection entitled “Commission Findings Relevant to Kyocera’s Appeal.” The

ALJ’s construction of “driven position,” “main storage chamber,” and “initiating a

driving cycle” are discussed below in the subsection C below, entitled

“Commission Findings Pertinent to Koki’s Appeal,” and in the Argument.


             2.     The ALJ’s Order (Order No. 28) Excluding Kyocera’s
                    Expert Testimony

      Discovery, including expert discovery, continued after the Markman

proceedings. Based on that discovery, Koki argued that Kyocera’s expert, Dr.

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Pratt, lacked the relevant skill in the art and could not testify from the perspective

of a POSA. Prior to the evidentiary hearing, Koki filed a motion in limine to

exclude the entirety of Dr. Pratt’s testimony on literal infringement, infringement

under the doctrine of equivalents, and invalidity. Appx262. Specifically, Koki

argued that Dr. Pratt had no skill in the field of “powered nailer design”—as

required by the findings in the Markman Order—and was “not capable of

analyzing the issues of infringement or invalidity from the perspective of a person

of ordinary skill.” Appx2252. In its opposition, Kyocera responded:

             First, Respondent ignores Dr. Pratt’s significant
             experience in handheld power tools and fastener driving
             systems. Second, Respondent attempts to unduly narrow
             the scope of the “pertinent art” which, according to
             Respondent, conveniently disqualifies Complainant’s
             technical expert. And third, Respondent mischaracterizes
             the standard for determining whether a witness may testify
             as a technical expert in patent cases.

Appx2268 (emphasis in original). Kyocera also asserted that “the level of ordinary

skill in the art is disputed” and that the previously issued Markman Order

determining such level of skill in the art was a “preliminary ruling.” Appx263

(citing Appx2271).

      The ALJ, however, explained that the Markman Order was “not

preliminary,” and ruled that he would not revisit this issue of the level of ordinary

skill in the art because Kyocera chose not to dispute Koki’s level of skill in the art

in the Markman phase itself and for five months thereafter. Appx263 (emphasis in
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original). After finding that Kyocera’s arguments disputing the level of ordinary

skill in the art as adopted by the Markman Order were waived as untimely, the ALJ

found that Dr. Pratt did not qualify as a POSA. Appx264. Specifically, the ALJ

found that there was no dispute as to Dr. Pratt’s lack of experience in the field of

powered nailer design. Appx264.

      The ALJ then turned to whether Dr. Pratt’s testimony should be excluded.

Appx265-267. After analyzing the relevant caselaw, the ALJ found that

infringement under the doctrine of equivalents places particular emphasis on the

POSA. Appx266. The ALJ quoted this Court’s decision in AquaTex Industries,

Inc. v. Techniche Solutions, 479 F.3d 1320 (Fed. Cir. 2007), for the proposition

that “the difficulties and complexities of the doctrine” of equivalents, “as opposed

to literal infringement,” “require[] that evidence be presented through the

particularized testimony of a person of ordinary skill in the art.” Appx266

(quoting AquaTex, 479 F.3d at 1329). The ALJ otherwise determined to allow Dr.

Pratt’s testimony as to other issues less reliant upon the knowledge of a POSA.

Appx266. The ALJ reserved a decision on whether to allow Dr. Pratt’s testimony

in connection with literal infringement. Appx267 (n.3).2




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        The ALJ and Commission ultimately considered Dr. Pratt’s testimony on
literal infringement. See, e.g., Appx38-44.

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      Accordingly, in Order No. 28 the ALJ granted in part Koki’s motion in

limine, striking Dr. Pratt’s testimony with respect to the doctrine of equivalents

(for infringement and for the technical prong of the domestic industry requirement)

regarding the Driven-Position Patents. Appx267. Following Order No. 28, the

parties agreed that further proceedings should be limited to the ’718 patent, the

only patent for which Kyocera asserted literal infringement based on the ALJ’s

claim constructions. Appx2284. Thus, the evidentiary hearing moved forward

only with respect to the ’718 patent. Appx96-97; Appx99.


      B.     Commission Findings Pertinent to Kyocera’s Appeal – The ALJ’s
             Construction of “Driven Position”

      Before the ALJ, the parties disputed the meaning of “driven position,” a

term that appears only in the asserted claims of the Driven-Position Patents.

Appx233-234. The parties’ dispute centered on whether the driven position is at

its bottom-most travel position, as Koki proposed, or merely near its bottom-most

travel position, as Kyocera proposed. Appx234. The ALJ, agreeing with Koki,

found that the specification, e.g., of the ’296 patent, defines this term:

             Referring now to FIG. 3, the piston is depicted at its
             bottom-most travel position, and in this configuration, the
             displacement volume 76 and the main storage chamber 74
             are at their largest combined volumes, while the cylinder
             venting chamber 94 is at its minimum volume. This bottom
             position is also sometimes referred to herein as the
             “driven position.” In FIG. 3, the movable piston stop 82
             is now in contact with the stationary piston stop 84, which

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             is why the cylinder venting chamber 94 is at its minimum
             (or zero) volume. In FIG. 3, the driver 90 is also at its
             bottom-most travel position, and its lower-most tip can be
             seen extending out the exit port at the bottom of the guide
             body 36.

Appx234-235 (emphasis by the ALJ); see also Appx355 (12:56-67).

      The ALJ also found that, contrary to Kyocera’s contention, nowhere does

the specification define “the driven position as being near the bottom.” Appx235

(emphasis in original); see also Appx307 (FIG. 3); Appx327 (FIG. 20); Appx353

(7:42-46, 8:33-37); Appx355 (12:56-67); Appx362 (26:43-54). Accordingly, the

ALJ construed “driven position” to mean “at the bottom-most travel position.”

Appx235.


      C.     Commission Findings Pertinent to Koki’s Appeal

             1.    The ALJ’s Construction of “Lifter Member”

      Before the ALJ, the parties disputed the proper construction of the limitation

“lifter member” that appears in the asserted claims of the ’718 patent. Appx245-

247. Koki argued that “lifter member” should be construed as a means-plus-

function term. Appx246; Appx1485-1488 (citing, inter alia, Appx1541 (¶ 55-56)).

Kyocera argued that: (1) it is presumed that “lifter member” is not drafted in

means-plus-function format because the word “means” does not appear in the

claim; and (2) the presumption is not overcome here because the intrinsic record



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provides structure for the term. See Appx246-248; Appx1450-1451 (citing Robert

Bosch, LLC v. Snap-On Inc., 769 F.3d 1094, 1097 (Fed. Cir. 2014)).

      The ALJ determined that “lifter member” is not subject to 35 U.S.C. § 112, ¶

6. Appx247-248. The ALJ found that the intrinsic record here informs a POSA’s

understanding of the term to recite a sufficiently definite structure. Appx247-248.

In proceedings before the ALJ, Koki’s own expert recognized that the term “lifter

member” was definite and connoted structure:

            Based on the claims, drawings, and the specification
            passage above, skilled artisans would have understood
            that “lifter member” means a rotating element where
            contact is made at the face surface and not at the outer
            perimeter. The outer shape would have been “understood”
            as unimportant, because no lifting contact is made at the
            outer perimeter. Furthermore, because the outer shape is
            unimportant to the function recited, skilled artisans would
            have understood that the rotating element (that carries the
            contact surface on its face surface) can take the form of a
            gear (i.e., a rotatable body with a round outer shape) or a
            cam (i.e., any rotatable body with an eccentric outer
            shape).

Appx248 (quoting Appx1612 (¶ 91)) (emphasis added); see also Appx248 (citing

Appx1682-1683 (¶ 43) (Kyocera’s expert)).

      After determining that “lifter member” is not subject to § 112, ¶ 6, the ALJ,

based on the intrinsic record, construed this term to mean “a rotatable component

having lifting pins on its face surface.” Appx254 (emphasis omitted).




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             2.    The ALJ’s Constructions of “Main Storage Chamber” and
                   “Initiating a Drive Cycle”

       The term “ a main storage chamber” appears in the asserted claims of the

’718 patent and the parties agreed to construe this term to mean “a chamber that is

distinct from the volume of the cylinder and contains part of the working air

volume during operation.” Appx229. This term is at issue in Koki’s appeal in

connection with obviousness. Koki Br. 16-19, 23-24, 78-88. The term “initiating

a driving cycle” also appears in the asserted claims of the ’718 patent (Appx226-

227) and its construction was not in dispute by the parties. Accordingly, the ALJ

construed this term in accordance with its plain and ordinary meaning. Appx213-

214.


             3.    The ALJ’s Initial Determination and Commission Review

       On June 7, 2019, the ALJ issued his final ID finding no violation of section

337, which confirmed no violation as to the Driven-Position Patents as described

supra. Appx95; Appx99. Specifically, with respect to infringement, the ALJ

analyzed only the “system controller” limitation of the asserted claims of the ’718

patent and found that it was not met by Koki’s accused products. Appx120-124.

The ALJ also noted that, in making his determination that the accused products do

not meet the “system controller” limitation, Koki’s expert did not dispute that the

accused products meet all other limitations of the asserted claims of the ’718 patent


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except for lifter member. Appx120 (n.11) (citing Appx3924-3925 (Q/A 317-20)

(Dr. Vallee)).

      The ALJ found that Koki did not demonstrate clearly and convincingly that

the asserted claims of the ’718 patent are obvious over Pedicini (U.S. Patent App.

Pub. No. 2006/0180631) (Appx2459-2472) in view of Ellingham (U.S. Patent No.

860,536), and in combination with one of Forster (U.S. Patent App. Pub. No.

2005/0217875), Shima (U.S. Patent No. 7,494,036), or the Operating Instructions

that accompanied Kyocera’s Cordless Finish 41 Nailer (collectively, “Pedicini

combination”). Appx130; Appx136-141. Relevant to Koki’s appeal, the ALJ

found that Pedicini does not disclose the “main storage chamber” limitation of the

asserted claims, and therefore the asserted claims are not rendered obvious in view

of Pedicini in combination with other asserted prior art. Appx136-141.

      On August 14, 2019, the Commission, inter alia, determined not to review

Order No. 28, determined to review the ID’s finding of non-infringement, and

remanded the investigation to the ALJ to assess infringement with respect to the

other limitations of the asserted claims of the ’718 patent. Appx2; Appx4.


             4.    The ALJ’s Remand Initial Determination and Commission
                   Review

      On October 28, 2019, the ALJ issued a remand ID (“RID”), again finding no

violation of section 337. Appx208. The ALJ found, inter alia, that while Koki’s


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accused products do meet the “lifter member” limitation, they do not meet the

“displacement volume” or “initiating a driving cycle” limitations.3 Appx4;

Appx177-179; Appx182-184; Appx189-191. Relevant to the “initiating a driving

cycle” limitation and Koki’s cross-appeal, the ALJ struck Koki’s expert’s rebuttal

testimony regarding infringement of this limitation. Appx3223. The ALJ found

that Koki violated Ground Rules by introducing rebuttal expert testimony that

exceeded its non-infringement contentions by presenting a previously unraised

non-infringement theory, i.e., that the “fastener driving mechanism” and “the

safety contact element” cannot be part of the same element. Appx3223; see

Appx1841-1842.

      On December 12, 2019, the Commission determined to review, inter alia,

the RID’s finding of non-infringement. Appx5. On March 5, 2020, upon review

of the RID, the Commission found a violation of section 337 because Koki’s

customers directly infringe the asserted claims of the ’718 patent when they use the

accused products, and Koki induces that infringement. Appx5-6. As a remedy, the

Commission issued a limited exclusion order directed to infringing gas spring

nailer products and components thereof, and a cease and desist order directed to

Koki. Appx4125-4141. Both Kyocera and Koki filed timely appeals.


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       On appeal, Koki does not dispute that its accused products meet several
limitations including “system controller” and “displacement volume.”

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                        SUMMARY OF THE ARGUMENT

I.       KYOCERA’S APPEAL: THE DRIVEN-POSITION PATENTS

         Kyocera’s appeal presents two issues: the construction of the term “driven

position” for the Driven-Position Patents, and the Commission’s determination to

exclude Kyocera’s expert, Dr. Pratt, from testifying as to infringement under the

doctrine of equivalents. Kyocera fails to demonstrate reversible error as to either

issue.

         As to “driven position,” the Commission correctly found that the

specification equates this term with the bottom-most travel position of the driver:

“[t]his bottom position is also sometimes referred to herein as the ‘driven

position.’ . . . [wherein] the driver 90 is also at its bottom-most travel position.”

Appx355 (12:60-61, 12:65) (emphasis added). Should the Court affirm the

Commission’s construction of this term, Kyocera acknowledges that the accused

products do not literally infringe the asserted claims of the ’718 patent. Kyocera

Br. 3, 27.

         Because the accused products do not literally infringe under the proper

construction of “driven position,” Kyocera wished to rely on a fallback

infringement argument under the doctrine of equivalents. But at the Markman

stage, Kyocera did not challenge Koki’s proposed level of skill, Kyocera itself

applied that level of skill as to claim construction, and the ALJ adopted it. Nearly


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a half-year later, Kyocera collaterally attacked that level of skill when it became

evident that its expert, Dr. Pratt, could not offer testimony from the vantage point

of a POSA. The Commission’s exclusion of Dr. Pratt’s testimony concerning

infringement under the doctrine of equivalents was not manifest error, as Kyocera

must (and cannot) demonstrate on appeal.

II.   KOKI’S CROSS-APPEAL: THE ’718 PATENT

      The Commission correctly construed the ’718 patent claim terms at issue in

accordance with the intrinsic record. Regarding the term “lifter member,” the

claim language and the specification demonstrate that “lifter member” connotes

structure. The patent specification defines “lifter member” as “lifter,” and as

“rotary-to-linear lifter.” Appx562 (8:50-52). Accordingly, the ALJ construed the

term as “a rotatable component having lifting pins on its face surface,” which is the

understood meaning of rotary-to-linear lifter. Appx254 (emphasis omitted).

Moreover, Koki’s own expert acknowledged that the term “lifter member”

connoted structure and that a POSA “would have understood that ‘lifter member’

means a rotating element where contact is made at the face surface and not at the

outer perimeter.” Appx1612 (¶ 91) (emphasis added). Should the Court affirm the

Commission’s construction of this term, Koki does not dispute that the accused

products meet this limitation of the asserted claims of the ’718 patent.




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       Koki contends that the “initiating a driving cycle” limitation is not met by its

accused products. Koki Br. 65-68. Koki argues that the disclosed second

embodiment in the ’718 patent initiates a driving cycle by pressing the bottom

portion of the fastener release exit of the driving tool against a workpiece, rather

than pressing the nose of the safety contact element against a workpiece as

disclosed by the first embodiment. However, contrary to Koki’s argument, in each

embodiment of the ’718 patent, the nose of the safety contact element (which is

part of the recited “fastener driving mechanism”) is pressed against the workpiece

to initiate a driving cycle.

       Koki also contends that the limitation “main storage chamber” is disclosed

by the Pedicini prior art, but Koki uses a construction contrary to the construction

that it agreed to before the ALJ. Koki Br. 78-88. Properly applying the agreed-

upon construction, the Commission correctly found that Pedicini does not disclose

this limitation as its main storage chamber is not distinct from its displacement

volume of the cylinder.

       Should the Court affirm the Commission’s applications of the constructions

of “initiating a driving cycle” and “a main storage chamber,” Koki admits that its

accused products infringe the asserted claims of the ’718 patent. Koki Br. 77-78,

83. Accordingly, substantial evidence supports the Commission’s finding of




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infringement and lack of disclosure by Pedicini, thereby also not meeting the clear

and convincing standard for invalidity.

      Finally, the Commission did not abuse its discretion in permitting Kyocera’s

expert, Dr. Pratt, to testify as to literal infringement and invalidity. The ALJ

excluded Dr. Pratt’s testimony where the reliance on a POSA was most

important—infringement under the doctrine of equivalents—as opposed to literal

infringement and the differences between the claims and the prior art for

obviousness, as is at issue in Koki’s appeal. In fact, many of the issues relating to

literal infringement and obviousness were not disputed. Koki fails to demonstrate

that the ALJ’s careful attention to the few remaining disputed issues and the role of

expert testimony with regard thereto was manifest error.


                                   ARGUMENT

                            STANDARD OF REVIEW

      In accordance with the Administrative Procedure Act, 5 U.S.C. § 706(2),

this Court reviews the Commission’s legal determinations de novo. See, e.g., Intel

Corp. v. USITC, 946 F.2d 821, 834 (Fed. Cir. 1991). The ultimate question of the

proper construction of the patent claims is a question of law. See Teva Pharm.

USA, Inc. v. Sandoz, Inc., 574 U.S. 318, 331 (2015). Any factual determinations

made in support of a claim construction are reviewed for clear error. Cisco Sys.,

Inc. v. ITC, 873 F.3d 1354, 1360 (Fed. Cir. 2017). Such factual determinations can

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include when a tribunal “resolves a dispute between experts and makes a factual

finding that, in general, a certain term of art had a particular meaning to a person of

ordinary skill in the art at the time of the invention.” Teva, 574 U.S. at 332

(quotation omitted). Also, “[s]imply because a factual finding may be nearly

dispositive does not render the subsidiary question a legal one.” Id. at 333.

      Infringement is a finding of fact, and is therefore reviewable under the

“substantial evidence” standard. See, e.g., Intel, 946 F.2d at 832. Under the

substantial evidence test, the Court “must affirm a Commission determination if it

is reasonable and supported by the record as a whole, even if some evidence

detracts from the Commission’s conclusion.” Spansion, Inc. v. ITC, 629 F.3d

1331, 1344 (Fed. Cir. 2010) (quotation omitted). “Substantial evidence has been

defined as more than a mere scintilla and as such relevant evidence as a reasonable

mind would accept as adequate to support a conclusion.” Honeywell Int’l, Inc. v.

ITC, 341 F.3d 1332, 1338 (Fed. Cir. 2003) (quotations omitted).

      The Federal Circuit reviews evidentiary rulings of the Commission for an

abuse of discretion. See, e.g., Winbond Elecs. Corp. v. ITC, 262 F.3d 1363, 1370

(Fed. Cir. 2001). This Court has stated that it “will not disturb a [lower] court’s

evidentiary rulings unless manifestly erroneous.” SEB S.A. v. Montgomery Ward

& Co., Inc., 594 F.3d 1360, 1373 (Fed. Cir. 2010) (quotation omitted).




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      As to invalidity, obviousness is a question of law based on underlying facts,

among which are the scope and content of the prior art and the differences between

the claims and the prior art. E.g., Norgren Inc. v. ITC, 699 F.3d 1317, 1322 (Fed.

Cir. 2012). Such factual determinations are reviewed for substantial evidence. Id.

at 1321.


           ARGUMENT PERTAINING TO KYOCERA’S APPEAL

I.    THE COMMISSION DID NOT ABUSE ITS DISCRETION BY
      EXCLUDING KYOCERA’S EXPERT TESTIMONY PERTAINING
      TO INFRINGEMENT UNDER THE DOCTRINE OF EQUIVALENTS

      As discussed in the Statement of the Case, supra, in his Markman Order, the

ALJ found that the appropriate level of ordinary skill in the art encompasses

persons with certain education as well as specific experience in “powered nailer

design.” Appx217. The ALJ ruled that Kyocera’s expert, Dr. Pratt, who had no

experience in this field, would not be permitted to testify as to infringement under

the doctrine of equivalents because Dr. Pratt did not have experience in “powered

nailer design” to testify with regard to the understanding of a POSA. Appx265-

267. Kyocera fails to demonstrate manifest error in the ALJ’s determination.


      A.     Kyocera Erred at, and After, the Markman Proceeding

      It is undisputed that claim construction must be conducted through the eyes

of a POSA. See, e.g., Phillips, 415 F.3d at 1332 (“It is the person of ordinary skill

in the field of the invention through whose eyes the claims are construed.”)

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(quotation omitted). In its Markman briefing, Koki proposed a level of ordinary

skill in the art requiring “experience in powered nailer design,” and provided

testimony from its technical expert, Dr. Vallee. Appx1476 (citing Appx1525-1526

(¶ 22)). On the other hand, Kyocera did not address the level of ordinary skill in

the art in its Markman briefing, but its expert, Dr. Pratt, stated in his declaration

that he met the level of ordinary skill proposed by Koki and applied this level for

his proposed claim constructions. Appx217 (citing Appx1676 (¶¶ 24-25)).

Moreover, during the Markman Hearing, Kyocera adopted Koki’s proposed level

of ordinary skill in the art as it argued how “one of ordinary skill in the art in the

field of pneumatic nailers would understand” the claims. Appx1799 (72:3-5)

(emphasis added).

      On May 3, 2018, the ALJ adopted Koki’s proposed level of skill in the art,

and found “that one of ordinary skill in the art would have” the level of skill set

forth by Koki. Appx217-218.

      Kyocera’s litigation strategy on this issue was replete with mistakes that do

not demonstrate manifest error by the ALJ. Prior to the Markman hearing,

Kyocera had a number of options it chose not to pursue: Kyocera could have

offered its own level of skill in the art; Kyocera could have disputed Koki’s level

of skill in the art; Kyocera could have argued that the level of skill in the art was

immaterial to any of the claim terms in dispute; or Kyocera could have asserted

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that a determination of the level of skill in the art was disputed and required

factfinding.4 It did none of these things. Then, after the Markman order issued—

and determined the level of skill in the art for the asserted patents—Kyocera did

nothing in the five months from the time of the Markman Order until its pre-

hearing brief, filed shortly before the hearing commenced.

      It was incumbent on Kyocera to ensure that its chosen expert would be

capable of opining from the vantage point of one of ordinary skill. The proper

procedural time period for challenging Koki’s proposed level of skill in the art was

in connection with the Markman hearing. Had Kyocera presented its position at

that appropriate juncture, the ALJ could have considered a challenge by Kyocera to

Koki’s proposed level of skill and any competing Kyocera proposal as to level of

skill. By Kyocera’s failure to so challenge Koki’s proposed level of skill definition

in the Markman proceeding, the ALJ did not err in adopting Koki’s undisputed


4
       Kyocera’s brief (Kyocera Br. 33-35) has an extensive discussion about how
determination of the level skill in the art can be a difficult factual question.
Pointing to Daiichi Sankyo Co., Ltd. v. Apotex, Inc., 501 F.3d 1254 (Fed. Cir.
2007), Kyocera argues that the level of skill should have been an issue at the
hearing. But hearings are for resolving disputed factual issues, and based on
Kyocera’s conduct at the Markman hearing, the appropriate level of skill was not
disputed. Daiichi itself acknowledges that in an earlier case, “the level of skill in
the art was not disputed by the parties” and it therefore “simply accepted the
district court’s finding.” 501 F.3d at 1257 (discussing Merck & Co. v. Teva
Pharm. USA, Inc., 347 F.3d 1367 (Fed. Cir. 2003)). As discussed in the text, if
Kyocera wanted to take issue with Koki’s proposed level of skill in the art, the
time for doing so was in connection with the Markman proceeding.

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level of skill definition. Kyocera’s mistakes and inaction do not leave it free to

disparage the Markman findings as “preliminary,” or to collaterally attack the level

of skill determination therein in its opposition to Koki’s motion in limine to

exclude Dr. Pratt’s testimony.

         Cases are frequently won and lost at the Markman stage. This Court, the

Commission, and the parties, are well aware of that. See generally, e.g.,

Retractable Techs., Inc. v. Becton, Dickinson & Co., 659 F.3d 1369, 1370 (Fed.

Cir. 2011) (Moore, J., dissenting) (“Claim construction is the single

most important event in the course of a patent litigation. It defines the scope of the

property right being enforced, and is often the difference between infringement and

non-infringement, or validity and invalidity.”). The ALJ did not err in turning

away Kyocera’s collateral attack on his earlier finding for the level of ordinary

skill.


         B.    The ALJ Did Not Err in Excluding Kyocera’s Expert Testimony
               Concerning Infringement Under the Doctrine of Equivalents

         Based on the level of skill in the art, Kyocera fails to demonstrate manifest

error in the ALJ’s exclusion of Kyocera’s expert testimony concerning the doctrine

of equivalents. It is undisputed that Kyocera’s expert Dr. Pratt lacks the level of

skill himself. Nor did Kyocera or Dr. Pratt ever explain how, without having such

level of skill himself, Dr. Pratt could opine from the vantage point of such a


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person. Even in the face of Koki’s motion to exclude, Kyocera did not, for

example, offer evidence that Dr. Pratt had met with those who were themselves of

ordinary skill in the powered-nailer field at the relevant date in order to bolster Dr.

Pratt’s understanding of the vantage point of a POSA. Instead, Kyocera

collaterally attacked the level-of-ordinary-skill finding, and argued that Dr. Pratt’s

skill, while inadequate, was close enough.

      As discussed in the Statement of the Case, supra, the ALJ determined to

“err[] in favor of” Kyocera and to allow some of Dr. Pratt’s testimony where it was

less reliant upon the vantage point of a POSA. Appx162. (Koki’s cross-appeal

challenges such admission, and is discussed, infra, in connection with that cross-

appeal.) Nonetheless the ALJ determined to exclude Dr. Pratt’s testimony

concerning infringement under the doctrine of equivalents because of that

doctrine’s particular reliance on the knowledge of a POSA. The ALJ’s exclusion

decision was not error, much less manifest error.

      This Court in AquaTex stated:

             Both the Supreme Court and this court have made clear
             that the evidence of equivalents must be from the
             perspective of someone skilled in the art . . . . [W]hile
             many different forms of evidence may be pertinent, when
             the patent holder relies on the doctrine of equivalents, as
             opposed to literal infringement, the difficulties and
             complexities of the doctrine require that evidence be
             presented to the jury or other fact-finder through the
             particularized testimony of a person of ordinary skill in the
             art, typically a qualified expert, who (on a limitation-by-
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             limitation basis) describes the claim limitations and
             establishes that those skilled in the art would recognize the
             equivalents.

479 F.3d at 1329 (quotation omitted and emphasis added). There is no “manifest

error” here in the ALJ’s decision to exclude Kyocera’s expert testimony with

respect to the doctrine of equivalents.


      C.     Kyocera’s Arguments Concerning Dr. Pratt’s Ability to Channel
             a Person of Ordinary Skill Are Waived and Are at Odds with the
             Evidentiary Record

      On appeal, Kyocera argues that Dr. Pratt’s testimony should have been

allowed because the POSA is a hypothetical construct. Kyocera Br. 28-32. In

Commission proceedings, however, Kyocera only presented arguments that its

expert testimony should be admitted because the level of ordinary skill in the art

adopted by the ALJ was determined without any factual analysis, or was overly

narrow. Appx2425-2429. Accordingly, Kyocera’s arguments on those pages of its

brief—including its reliance on Endress + Hauser, Inc. v. Hawk Measurement

Sys., 122 F.3d 1040, 1042 (Fed. Cir. 1997)—are waived and should not be

addressed by this Court. See, e.g., Finnigan Corp. v. ITC, 180 F.3d 1354, 1362-63

(Fed. Cir. 1999). In any event, Endress is a case in which the Court found that the

district judge’s decision to allow certain testimony fell within the scope of the

district court’s discretion, and not that exclusion of such testimony would have

exceeded such discretion. Endress, 122 F.3d at 1042.

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      Not only is Koki’s legal argument waived, but the factual underpinnings

have been waived, too. Nowhere in Commission proceedings did Kyocera explain

how, if Dr. Pratt were permitted to testify, Dr. Pratt could opine from the vantage

point of a POSA. Even in the face of Koki’s motion to exclude (or in its rebuttal

brief on claim construction), Kyocera did not offer evidence as to how Dr. Pratt

would possess the knowledge of a POSA, as for example, by having consulted with

persons who were themselves of ordinary skill in the powered-nailer field at the

relevant date in order to bolster Dr. Pratt’s understanding of the vantage point of a

POSA.

      In Kyocera’s rebuttal brief on claim construction, Kyocera included a

declaration from Dr. Pratt where he stated, after acknowledging Koki’s proposed

level of ordinary skill that included experience in “powered nailer design,” that “I

meet this level of skill and have applied it in reaching my conclusions found in this

declaration.” Appx1706 (¶¶ 24-25) (emphasis added). Later in proceedings,

Kyocera merely stated that Dr. Pratt “has significant industry experience related to

fastener driving tools” and that there is “overlap” between powered nailers and

general fastener driving tools. Appx2269; Appx2271-2272. Furthermore, Kyocera

simply asserted that “Dr. Pratt is qualified to testify as an expert witness regardless

of the level of ordinary skill in the art,” but did not proffer any specifics as to how




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exactly he would be capable of opining from the vantage point of one of ordinary

skill as already determined by the ALJ. Appx2272 (Subheading B).

         Based on the foregoing, there is no “manifest error” in the ALJ’s

determination to exclude Kyocera’s expert testimony regarding infringement under

the doctrine of equivalents with respect to the Driven-Position Patents. Kyocera

failed to oppose a level of ordinary skill in the art that excluded its own expert’s

opinions, and now suffers the consequences of that choice. Moreover, Kyocera’s

invitation for the Court to apply a different standard for the level of skill in

connection with infringement and invalidity than was applied in claim construction

calls into question the Commission’s claim constructions themselves. The

Commission respectfully requests that the Court deny Kyocera the mulligan it

seeks.


II.      THE COMMISSION PROPERLY CONSTRUED THE “DRIVEN
         POSITION” LIMITATION

         Representative claim 1 of the ’296 patent recites in relevant part, “when said

lifter member is moved in a first direction, it causes a return stroke of an operating

cycle and moves said driver member from a driven position toward a ready

position.” Appx369 (40:36-39). The plain language of the claim defines the

“driven position” as the position the driver member is at before it returns to a ready

position with a return stroke via the lifter member, i.e., after a driving stroke. The


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ALJ properly construed the term “driven position” to mean “at the bottom-most

travel position” in accordance with the intrinsic record based on the teachings of

this Court. Appx235.

      The specification defines “driven position” as the “bottom position.” The

’296 patent explains:

             Referring now to FIG. 3, the piston is depicted at its
             bottom-most travel position, and in this configuration, the
             displacement volume 76 and the main storage chamber 74
             are at their largest combined volumes, while the cylinder
             venting chamber 94 is at its minimum volume. This bottom
             position is also sometimes referred to herein as the
             “driven position.” . . . In FIG. 3, the driver 90 is also at
             its bottom-most travel position. . . .

Appx355 (12:56-65) (emphasis added). Thus, for a driving stroke, the driver is

driven down from a ready position, i.e., its top-most position, to a “driven

position,” i.e., its bottom-most position, to drive a fastener into a workpiece, and

then is lifted back up to continue the operating cycle. Appx307-308 (FIGs. 3, 4);

Appx327-328 (FIGs. 20, 21); Appx355-356 (12:56-13:60); Appx362-363 (26:43-

27:47). Also, the displacement volume and the main storage volume are at their

maximum volumes, while the venting chamber is at its minimum volume.

Appx306-307 (FIGs. 2, 3); Appx326-327 (FIGs. 19, 20); Appx355 (12:24-37, 47-

51, 56-67); Appx362 (25:33-61, 26:4-8, 43-54). Throughout the specification, this

definition does not change – the “driven position” is equated with the “bottom-

most position” at the end of a driving stroke.
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       Kyocera’s appeal points to the specification’s discussion of the second

embodiment to cast doubt on the definition from the first embodiment. Kyocera

Br. 21-27. Kyocera relies on the following passage from the specification

concerning the second embodiment, with the difference that matters to Kyocera

italicized:

               Referring again to FIG. 20, the piston 458 is depicted near
               or at its bottom-most travel position, and in this
               configuration, the displacement volume 457 and the main
               storage chamber 454 are at their largest combined
               volumes, while the cylinder venting chamber 492 is at its
               minimum volume. This bottom position is also sometimes
               referred to herein as the “driven position.” . . . In FIG. 20,
               the driver 490 is also at its bottom-most travel
               position . . . .

Appx362 (26:43-53) (emphasis added).

       As can be seen from the foregoing, in that embodiment, the “bottom

position” is still defined as the “driven position.” The specification, however,

states that FIG. 20 depicts the piston “near or at its bottom-most travel position.”5

Kyocera distorts the patent specification to suggest that in this embodiment, the

definition of the “driven position” has changed; it has not. Rather, FIG. 20 depicts



5
       Kyocera’s attempt to rely on that passage is further belied by the fact that the
patent elsewhere states “FIG. 3 is another perspective view . . . showing the driver
mechanism, with the piston at its lowest “driven” position,” and “FIG. 20 is
another perspective view . . . showing the driver mechanism, with the piston at its
lowest “driven” position.” Appx353 (7:42-46, 8:33-37).

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the piston “at or near the bottom-most position” and thereby “at or near” the driven

position. Likewise, in both embodiments, the driver is “at its bottom-most travel

position,” i.e, at the driven position.

       Tellingly, neither in Commission proceedings nor on appeal has Kyocera

pointed to any differences between the first and second embodiments that would

afford the “driven position” of the second embodiment a different and broader

meaning than in the first embodiment. Nor can it. The only difference explained

in the patent is that the second embodiment uses a magnetic sensor to sense the

movement of the lifter rather than the mechanical pin of the first embodiment.

Appx362 (25:19-26). Kyocera has never explained—in Commission proceedings

and now on appeal—why that difference relates to the driven position (and for

Kyocera to attempt to do so for the first time in a reply brief on appeal would be

far too late).

       Contrary to Kyocera’s argument (Br. 23-27), the ALJ’s construction does

not exclude a preferred embodiment, because the “driven position” of the driver in

all of the embodiments is the same. See Appx235. The ALJ’s construction of

“driven position” to mean “at the bottom-most travel position” properly accords

with the intrinsic record.




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              ARGUMENT PERTAINING TO KOKI’S APPEAL

I.    THE COMMISSION PROPERLY CONSTRUED THE “LIFTER
      MEMBER” LIMITATION

      The term “lifter member” appears in representative claim 1 of the ’718

patent as follows:

             (vi) a prime mover that moves a lifter member which
             moves a driver member away from an exit end of the
             mechanism . . . .

Appx577 (37:57-59). The ALJ defined the term as to mean “a rotatable

component having lifting pins on its face surface.” Appx254. Koki argues that

the term “lifter member” does not connote structure and should be construed under

section 112, paragraph 6. Koki Br. 53-61. Koki, however, casts aside the intrinsic

record and the extrinsic evidence (including from its own expert), which refute

Koki’s argument.

      The term “lifter member” does not use the word “means,” and, accordingly,

it is presumed that the term is not construed as merely functional. See Williamson

v. Citrix Online, LLC, 792 F.3d 1339, 1348 (Fed. Cir. 2015) (en banc). Moreover,

the specification provides an explicit structural definition for “lifter member”:

             Also within the fastener driver portion 14 are mechanisms
             that will actually drive a fastener into a solid object. This
             includes a driver 90, a cylinder “venting chamber” 94
             (which would typically always be at atmospheric
             pressure), a driver track 98 (see FIG. 4), a rotary-to-linear
             lifter 100, and a latch 120.         The driver 90 is also
             sometimes referred to herein as a “driver member” and the

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             rotary-to-lifter 100 is also sometimes referred to herein as
             a “lifter member,” or simply as a “lifter.”

Appx562 (8:44-52) (emphasis added); accord Appx569 (21:19-28) (substantially

the same statement in connection with the second embodiment). Thus, the

specification defines the “lifter member” structurally as a rotary-to-linear lifter, a

term that had an understood structural meaning in the art. See, e.g., Appx250;

Appx1484-1485; Appx1489-1490; Appx1540-1541; Appx1544 (¶¶ 66-67);

Appx1451-1452; Appx1682-1683 (¶¶ 43-44).

      Thus, unlike Bosch, there is language in the specification here that “defines

the term[] to refer to structure.” 769 F.3d at 1100-01; accord id. at 1100 (“[O]ne

of ordinary skill could not find in the specification a definition of the terms as

referring to a particular structure.”); see also Mass. Inst. of Tech. v. Abacus

Software, 462 F.3d 1344, 1354 (Fed. Cir. 2006) (finding that “the term ‘colorant

selection,’ which modifies ‘mechanism’ here, is not defined in the

specification . . .”). This definition alone defeats Koki’s argument about means-

plus-function treatment.

      But the intrinsic evidence concerning structure goes well beyond the

specification’s definition. Taking a step back from the express structural definition

of “lifter member,” “lifter” itself connotes structure, and the patent specification

discloses the structural character of the “lifter” through no less than six exemplary

embodiments (i.e., lifter 100, lifter 400, and lifters 460, 465, 470, and 480), all

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consistent with one another and consistent with the definition of the rotary-to-

linear lifter. Appx562-563 (8:44-52, 67-9:2, 7-17); Appx569 (21:19-28, 22:5-10)

(emphasis added); see also Appx574 (31:1-63) (lifters 460, 465, 470, 480);

Appx546-549 (FIGs. 30-33 (lifters 460, 465, 470, 480)); Appx249-251.

      In Inventio AG v. Thyssenkrupp Elevator Americas, 649 F.3d 1350 (Fed. Cir.

2011), the patentee defeated an assertion of means-plus-function treatment with

respect to the term “modernizing device” by demonstrating that: (1) the claims

recite structural detail about the “modernizing device” and how it is connected to

other components of the patented system; and (2) the written descriptions identify

the “modernizing device” as a structural component, as they provide a block

diagram of the modernizing device and also describe the structure and operation of

the modernizing device. Id. at 1357. Similarly, here, the asserted claims recite

how—irrespective of the specification’s definition—the “lifter member” is

connected to the other components, i.e., the “prime mover” and the “driver

member,” of the patented method for controlling a fastener driving tool.

      This Court has recognized the role that expert testimony can play in

connection with determining whether a POSA would understand the claim terms to

connote sufficiently definite structure or whether they should be subject to means-

plus-function treatment. See, e.g., Lighting World, Inc. v. Birchwood Lighting,

Inc., 382 F.3d 1354, 1361-62 (Fed. Cir. 2004) (relying on expert testimony to find

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that the claimed “connector assembly” connoted sufficiently definite structure),

overruled on other grounds by Williamson, 792 F.3d 1339. In the present case, the

expert testimony is also fatal to Koki. In Commission proceedings, Koki’s own

expert, Dr. Vallee, took the position that the “lifter member” is a structural term to

a POSA in view of the intrinsic record. Dr. Vallee testified that

             Based on the claims, drawings, and the specification
             passage above [e.g., Appx525 (FIG. 12); Appx546-549
             (FIGs. 30-33); Appx569 (22:5-10)], skilled artisans would
             have understood that “lifter member” means a rotating
             element where contact is made at the face surface and not
             at the outer perimeter. The outer shape would have been
             “understood” as unimportant, because no lifting contact is
             made at the outer perimeter. Furthermore, because the
             outer shape is unimportant to the function recited, skilled
             artisans would have understood that the rotating element
             (that carries the contact surface on its face surface) can
             take the form of a gear (i.e., a rotatable body with a round
             outer shape) or a cam (i.e., any rotatable body with an
             eccentric outer shape).

Appx248 (quoting Appx1612 (¶ 91)) (emphasis added); see also Appx1682-1683

(¶ 43) (Kyocera’s expert).

      Koki’s extensive reliance on MTD Products Inc. v. Iancu, 933 F.3d 1336

(Fed. Cir. 2019), is unavailing. See Koki Br. at 54-57. The Court in MTD—like

Williamson, Bosch, MIT and other decisions of the Court—expressly stated that

“[t]he ultimate question is whether the claim language, read in light of the

specification, recites sufficiently definite structure to avoid § 112, ¶ 6.” MTD, 933

F.3d at 1342 (quotation omitted). In MTD, the Court explained that the patent
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specification there “does not expressly refer to a ‘mechanical control assembly,’”

as called for by the claim. Id. at 1339. In contrast, as discussed above, the patent

specification here is replete with discussion of the “lifter member” including

equating “lifter member” and “lifter” with the “rotary-to-linear lifter.” See, e.g.,

Appx562 (8:44-52). Koki’s attempt to rely on MTD to turn a blind eye to a

patent’s specification finds no support in MTD or any other decision of this Court.

      The intrinsic record, as well as the extrinsic evidence, demonstrates that the

claimed “lifter member” is a structural term, and Koki has failed to rebut the

presumption that this term is not subject to means-plus-function interpretation.

Koki does not dispute that its accused products meet this limitation under the

ALJ’s construction, and the Commission’s relevant infringement findings should

be upheld.


II.   THE COMMISSION PROPERLY APPLIED THE UNDISPUTED
      CONSTRUCTION OF THE “INITIATING A DRIVING CYCLE”
      LIMITATION AND SUBSTANTIAL EVIDENCE SUPPORTS ITS
      FINDING THAT THIS LIMITATION IS MET BY THE ACCUSED
      PRODUCTS

      The “initiating a driving cycle” limitation appears in representative asserted

claim 1 of the ’718 patent as follows:

              1.    A method for controlling a fastener driving tool,
              said method comprising:

              *     *        *


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             (c) initiating a driving cycle by pressing said exit end
             against a workpiece and actuating said trigger, thereby
             causing said fastener driving mechanism to force the
             driver member to move toward said exit end and drive a
             fastener into said workpiece . . . .

Appx577 (37:1-61, 38:18-22) (emphasis added). The parties did not dispute that

this term should be construed to have its plain and ordinary meaning. Appx49;

Appx213-214; Appx230-260; see also Phillips, 415 F.3d at 1312-13.


      A.     Koki’s Arguments Are Waived and Are Unsupported Attorney
             Argument

      Review of the Commission procedural history here is key to understanding

Koki’s waiver and unsupported attorney argument that it presents on appeal. Koki

Br. 63-77. After the parties agreed to the plain and ordinary meaning of “initiating

a driving cycle,” the expert report of Koki’s expert Dr. Vallee advanced a “new

non-infringement theory that was not previously disclosed.” Appx3223. That was

in violation of the ALJ’s Ground Rules, which required Koki to present all of its

non-infringement positions in its responses to contention interrogatories. See

Appx1841-1842 (ALJ’s Ground Rule 4.4.3). Accordingly, Dr. Vallee’s testimony

concerning non-infringement was properly struck, Appx3223. Instead, he only

disputed infringement of the ’718 patent with respect to two limitations, “system

controller” and “lifter member.” Appx120 (n.11) (citing Appx3924-3925 (Q/A

317-20)).


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      With Dr. Vallee’s testimony concerning non-infringement of the “initiating a

driving cycle” limitation struck, Koki then attempted to rely on bare attorney

argument instead to support non-infringement of the “initiating a driving cycle”

limitation. Appx3647-3648; Appx3784-3785. The Commission rejected Koki’s

argument as “unsupported by the record evidence because the ALJ struck the

supporting testimony of [Koki’s] expert due to waiver.” Appx56. The

Commission clarified that when Koki’s “expert rebuttal testimony went beyond

mere rebuttal to introduce a new non-infringement theory regarding this limitation,

i.e., that the ‘fastener driver mechanism’ and the ‘safety contact element’ cannot be

part of the same element, the ALJ properly [rejected] this testimony because it

went further than [Koki’s] original non-infringement contentions.” Appx56. “The

Commission thus reject[ed] this argument because no record evidence supports it.”

Appx56.

      Bereft of any testimonial support, Koki now presents fifteen pages of

attorney argument concerning non-infringement (Koki Br. 63-78) that points to

nothing in the record beyond the specification of the asserted patent. The

infringement analysis, however, compares “the properly construed claims to the

accused product,” Abbott Labs. v. Sandoz, Inc., 566 F.3d 1282, 1288 (Fed. Cir.

2009), and does not compare the claims to the preferred embodiments of the

specification, as Koki tries on appeal. The evidentiary ruling striking Koki’s

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expert testimony does not give Koki a license to collaterally attack the plain and

ordinary meaning to which it agreed. This Court has similarly set aside such

attacks on claim constructions:

             Tessera does not, nor could it, argue that the Commission
             adopted an incorrect claim construction. This is because
             the Commission adopted Tessera’s proposed claim
             construction.    Tessera’s contention at best is a
             disagreement over the Commission’s application of the
             Tessera’s construction to the accused . . . devices. This
             court therefore agrees with . . . the Commission that
             Tessera is challenging the Commission’s infringement
             determination, which this Court reviews for substantial
             evidence.

Tessera, Inc. v. ITC, 646 F.3d 1357, 1364 (Fed. Cir. 2011) (citation omitted and

emphasis removed). Koki never raised these arguments in connection with claim

construction below and they are waived. Appx1460-1636; Appx3140-3213; see

Finnigan, 180 F.3d at 1362-63 (waiver).


      B.     Substantial Evidence Supports the Commission’s Finding of
             Infringement

      Substantial evidence supports the Commission’s finding that the accused

products meet the “initiating a driving cycle” limitation. The Instruction and

Safety Manual for the accused products discloses two modes of operation for the

Koki nailer, where for both modes, the end portion of the driving tool, indicated as

the push lever, is depressed against the workpiece to initiate a driving cycle for the

tool. See Appx3970; Appx3991-3992. The push lever thus functions as a “safety

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contact element,” consistent with the agreed-upon construction for that limitation

(“a device that when engaged allows operation of the fastener driving tool”),

because the tool does not operate unless this lever is depressed. Appx3991; see

also Appx229. This operation of the accused products is also consistent Dr. Pratt’s

testimony, which explained that for the accused products, “the exit end of the

fastener driving mechanism is the end of the safety contact element, which when

pressed against a workpiece, allows a driving stroke to begin.” See Appx799 (Q/A

203). Substantial evidence thus supports the Commission’s finding that this

limitation is met.


      C.     Notwithstanding Waiver, Koki’s Argument That the End of the
             Safety Contact Element Cannot Be Part of the Fastener Driver
             Mechanism Is Wrong

      Koki’s argument on appeal, beyond being waived, misapprehends the

intrinsic record. For all embodiments, the specification describes using the “nose”

of the safety contact element to actuate the driving tool, i.e., “initiate a driving

cycle.” For example, with reference to FIG. 1, the specification discloses that

“[b]efore the tool is actuated, a safety contact element 32 extends beyond the

bottom 30 of the fastener exit, and this extension of the safety contact element is

depicted at 34, which is the bottom or ‘front’ portion of the safety contact

element.” Appx562 (7:47-51) (emphasis added).



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      The ’718 patent then discloses the following to “initiate a driving cycle”:

             When it is time to drive a fastener [from the “rest” position
             illustrated above in FIG. 4], the next action in the
             illustrated first embodiment is to cause the motor 40 to
             become energized once again. This occurs by two
             independent actions by the user: in some modes of the
             invention, these two independent actions can occur in
             either order. . . . These two actions are: pressing the nose
             34 of the safety contact element 32 against a solid surface,
             and depressing the trigger actuator 54. The trigger
             actuator will cause the trigger switch 52 to change state,
             which is one condition that will start sending current to the
             motor 40. The safety contact element 32 has an upper arm
             134 (see FIG. 8) that will be moved as the nose 34 is
             pushed into the tool 10, and this upper arm 134 will
             actuate another sensor which, in the illustrated
             embodiment, is a second limit switch 132 (see FIG. 8).
             When both of these actions are occurring simultaneously,
             current is delivered to the motor 40 which will once again
             turn the rotary-to-linear lifter 100 a short distance . . . to
             disengage the latch catching surface 124 [of latch 120]
             from one of the teeth 92 of the driver 90.

Appx564 (11:60-12:15) (emphasis added); see also Appx564 (11:48-53); accord

Appx571 (26:10-37) (for the second embodiment). Accordingly, for all disclosed

embodiments, the ’718 patent teaches that pressing the nose of the fastener driving

tool, i.e., the nose of the safety contact element, against the workpiece initiates a

driving cycle. It is not initiated, contrary to Koki’s argument (Koki Br. 68-74), by

pressing the bottom portion of the fastener release exit (see bottom 30 described,

supra) against the workpiece.




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      Contrary to Koki’s argument (Koki Br. 69-76), the ’718 patent does not

disclose two separate embodiments for “initiating a driving cycle,” as the patent

only discloses pressing the nose of the fastener driving tool, i.e., the nose of the

safety contact element, against the workpiece to initiate a driving cycle for all

embodiments as described supra. See, e.g., Appx564 (11:48-53, 60-12:15) (first

embodiment); accord Appx571 (26:10-37) (second embodiment). The passages

Koki cited all reference only the safety contact element, not the exit end of the

fastener driving mechanism, as triggering the driving cycle. Specifically, these

portions of the specification describe initiating a driving cycle upon the nose of the

safety contact element being depressed into a work surface and its upper arm

moving to actuate the limit switch. See Appx564-565 (12:4-9, 13:37-41);

Appx572 (27:54-59). Indeed, the phrases “nose of the safety contact element,”

“nose of the tool,” “nose of the fastener driving tool,” “tool nose,” or “extension of

the safety contact element” are mentioned dozens of times in the ’718

specification, all with respect to actuating the tool by pressing the nose of the

safety contact element into the workpiece (which moves the upper arm of the

safety contact element to trigger the limit switch).6 See, e.g., Appx562 (7:47-51);



6
     In addition, Koki references Appx567 (17:8-14) and Appx575 (33:42-47).
Koki Br. 69-70. However, those passages merely disclose yet another embodiment
                                                     [Footnote continued on next page]

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Appx564-565 (11:7-12:11; 13:5-22, 37-41; 14:47-50); Appx568 (20:10-14);

Appx571-572 (26:13-54; 27:54-59); Appx514 (FIG. 1); Appx521 (FIG. 8);

Appx532 (FIG. 16); Appx541 (FIG. 25). Put simply, the safety contact element is

part of the tool’s fastener driving mechanism.

      This same mischaracterization infects other portions of Koki’s argument

(Koki Br. 71-75), where again the specification clearly discloses that it is the

movement of the upper arm of the safety contact element, as its nose presses

against the workpiece, that triggers the limit switch to “initiate a driving cycle,”

and not some other element that triggers the switch. See Appx572 (27:54-59)

(cited by Koki). Moreover, all of the logic diagrams for “initiating a driving cycle”

in the ’718 patent, on which Koki relies, ask the same logic/decision query: “Is

Safety Actuated?”, but not “Is Exit End Actuated?” See, e.g., Appx526 (FIG. 13A,

step 224); Appx551 (FIG. 35A, step 524). The specification therefore clarifies that




(cont’d)
where the nose of the safety contact element is pressed against a workpiece, which
moves the upper arm of the safety contact element to actuate the limit switch (as
opposed to another element actuating the switch) to start the motor and begin
driving movement of the driver to “initiate a driving cycle.” Appx567 (17:8-14);
Appx575 (33:42-47); see also Appx571 (26:22-27).

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the safety contact element must be viewed as part of the fastener driving

mechanism.7

      The cases cited in Koki’s brief at pages 66-67 are simply inapt. This is not a

situation in which the claims contained an error. It is also not a situation in which

the claims have been redrafted. Instead, the Commission applied an undisputed

claim construction and found infringement. See Tessera, 646 F.3d at 1364-66

(affirming the Commission’s application of an undisputed claim construction).

Koki’s attempt to misread the preferred embodiments—long after the time for

applying the intrinsic record to the meaning of the patent claims had passed—is

unsupported and unsupportable. The Commission’s infringement determination

should be affirmed.




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       Even if, arguendo, the patent specification includes two different
embodiments for “initiating a driving cycle,” Koki fails to explain why all the
asserted patent claims must incorporate all the limitations of the one particular
embodiment to which Koki points (and misapprehends), as opposed to another
embodiment. The law does not support Koki. E.g., Johns Hopkins Univ. v.
CellPro, Inc., 152 F.3d 1342, 1355 (Fed. Cir. 1998) (“A patent claim should be
construed to encompass at least one disclosed embodiment in the written
description portion of the patent specification.”).

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III.   THE COMMISSION CORRECTLY APPLIED ITS CONSTRUCTION
       OF THE “MAIN STORAGE CHAMBER” LIMITATION AND
       SUBSTANTIAL EVIDENCE SUPPORTS ITS FINDING THAT
       PEDICINI DOES NOT DISCLOSE THIS LIMITATION

       Although obviousness is a question of law based on underlying facts, Koki,

on appeal, only disputes the ALJ’s factual finding that Pedicini does not disclose

the “main storage chamber” limitation. Koki Br. 78-88. Accordingly, as Koki

itself acknowledges (Koki Br. 88), this Court reviews the Commission’s

determination for substantial evidence, the absence of which Koki does not

demonstrate.


       A.      The Pedicini Prior Art

       Pedicini, entitled “Electrical Motor Driven Energy Storage Device For

Impacting,” discloses a hand-held fastening mechanism tool for driving nails or

other fasteners into a workpiece (or substrate). Appx2466 (¶ 0002). FIG. 2 of

Pedicini is shown below where the driving member (anvil 8) is shown in a

retracted position.




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Appx2461 (FIG. 2 of Pedicini). In accordance with the disclosure and

corresponding drawings, Pedicini discloses delivering a downward driving stroke

using a piston 5 that cycles up and down in the publication’s only disclosed air

chamber, i.e., air chamber 13, all enclosed within a cylinder 14, where compressed

air forces the piston downward in the chamber to deliver the driving stroke to drive

the fastener 6 into the substrate 18. Appx2469 (¶¶ 0077-0078). As noted in the

“Background of the Invention” section of the ’718 patent, Pedicini discloses using
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a release valve 23 to replenish the air (from an external source) in the chamber 13

that is lost between nail drives. Appx2469 (¶ 0077); Appx2461 (FIG. 2); see also

Appx559 (1:55-56).


      B.     The ALJ’s Claim Construction and Finding of Non-Disclosure

      Representative claim 1 of the ’718 patent recites, in relevant part, “[a]

hollow cylinder containing a displacement volume created by a stroke of said

piston,” and “a main storage chamber that is in fluidic communication with said

displacement volume of the cylinder.” Appx577 (37:63-67) (emphasis added). As

agreed-upon by the parties, the ALJ’s Markman Order construed the “main storage

chamber” limitation to mean “a chamber that is distinct from the volume of the

cylinder and contains part of the working air volume during operation.” Appx229

(emphasis added). Based on that agreed-upon claim construction, Koki argued

below (Appx136-141) and argues on appeal (Koki Br. 78-83), that the upper

portion of the air chamber 13 in FIG. 2 of Pedicini, above the piston 5, illustrates

the recited “main storage chamber” of the asserted claims of the ’718 patent, and

that the lower portion of the air chamber 13, below the piston 5, illustrates the

recited “displacement volume.” Appx136-138; Appx3805-3806; Appx2575;

Appx2616. Koki contends that these two portions of the same cylinder, i.e., air

chamber 13, are “distinct” because they are separated by the piston 5 and the piston

does not move all the way to the top of the air chamber 13 in its most-retracted

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position, i.e., the ready position. Koki Br. 79, 81, 83-87; Appx3806; Appx1352-

1354 (261:7-263:1).

      Substantial evidence supports the ALJ’s determination that the alleged

“main storage chamber” in Pedicini above the piston 5 is part of the same volume

within the cylinder 14 as the alleged “displacement volume” below the piston 5.

See, e.g., Appx136-141; Appx563 (9:57-10:3); Appx515 (FIG. 2); Appx518 (FIG.

5); Appx559 (2:19-26); Appx564-565 (12:50-13:4); Appx2469 (¶¶ 0077-0078);

Appx2460 (FIG. 1 of Pedicini). Koki argues that the ALJ “erred by not finding

that the ‘volume of the cylinder’ in the agreed-upon construction of ‘main storage

chamber’ refers only to that volume through which the piston moves from its upper

position to its driven position.” Koki Br. 82-83 (emphasis added). But if that is

what Koki sought, it should have so argued in claim construction proceedings,

instead of seeking, in the guise of non-infringement, rewriting the construction.

The ’718 patent does not disclose two cylinders, with one cylinder representing the

portion above wherever the piston happens to be located at a point in time, and

another the portion below the piston; it is all a single cylinder. Substantial

evidence supports the Commission’s factfinding that Pedicini has only one

cylinder and that the alleged main storage chamber in Pedicini is not distinct from




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that cylinder.8 Pedicini therefore does not disclose a “main storage chamber”

having a volume that is necessarily distinct from the volume (or displacement

volume) of the cylinder, consistent with the agreed-upon construction.

      In its brief, Koki relies upon Phillips to contend that the ALJ improperly

read an embodiment from the ’718 patent specification into the claims. Koki Br.

82-83. Specifically, Koki argues that the ALJ improperly limited his application of

the agreed-upon construction to the disclosed embodiment where the main storage

chamber “substantially surrounds” the cylinder 71 of the driving tool. See

Appx562-563 (8:37-41, 10:13-15). That reliance is unavailing because the ALJ

did not limit his analysis to this specific embodiment of the ’718 patent, but to the

agreed-upon construction of the “main storage chamber” limitation, which by its

words, limits the volume to the “volume of the cylinder,” i.e., the volume within

the cylinder. Appx229 (emphasis added). It is Koki who is attempting to broaden



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       Moreover, Pedicini is not replenishing the air in the chamber 13 using the
area above piston 5 as a gas replenishment source, i.e., a main storage chamber, but
rather this area is simply part of the overall volume of the air chamber 13 that is
replenished using an external supply. Appx2469 (¶ 0077). In contrast to
Pedicini’s configuration, the ’718 patent uses a “working storage volume” that
provides a substantially gas-tight system and comprises a combination of a main
storage chamber 74 and a cylinder displacement volume 76; this combination
avoids the use of a gas replenishment system on-board the driving tool, or an
external supply, by self-replenishing using gas (or air) from the main storage
chamber and feeding it to the upper portion of the cylinder 71 via a fluidic passage
152. Appx559 (1:61-62, 2:19-26); Appx564-565 (12:50-13:4).

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this agreed-upon construction by reading out the word “distinct” from the

construction—contrary to the agreed-upon construction.

      Based on the foregoing, substantial evidence supports the Commission’s

determination that Pedicini does not disclose the “main storage chamber”

limitation, and therefore Koki has not met its burden to establish, by clear and

convincing evidence, that the asserted claims of the ‘718 patent are rendered

obvious by the Pedicini combination.


IV.   THE COMMISSION DID NOT ABUSE ITS DISCRETION WHEN IT
      CONSIDERED KYOCERA’S EXPERT TESTIMONY PERTAINING
      TO LITERAL INFRINGEMENT AND INVALIDITY

      The ALJ’s exclusion of Dr. Pratt’s testimony concerning infringement

under the doctrine of equivalents is discussed above in connection with

Kyocera’s appeal. Koki argues, in its cross-appeal, that Dr. Pratt’s

testimony should have been excluded in connection with literal infringement

and invalidity. Koki Br. 61-63. Koki fails to demonstrate, however, that the

ALJ’s allowance of the testimony was “manifest error.” Montgomery Ward,

594 F.3d at 1373.

      First, Koki’s argument (Koki Br. 61-63) is waived here as untimely. See,

e.g., Finnigan Corp., 180 F.3d at 1362-63. In Koki’s contingent petition for

Commission review of the ALJ’s determinations, Dr. Pratt is mentioned 85 times.



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The only discussion of Dr. Pratt’s lack of skill in the art is on page 4 of Koki’s

petition:

             As a matter of law, the Chief ALJ’s reliance on Dr. Pratt’s
             testimony was improper. After issuing Order No. 9, the
             Chief ALJ determined that Dr. Pratt “does not qualify as a
             person of ordinary skill in the art.” Given the Chief ALJ’s
             subsequent finding that Dr. Pratt is not a person of skill in
             the art, the Chief ALJ’s prior reliance on Dr. Pratt’s
             testimony on issues of claim construction should be given
             no weight.

Appx4082 (citation omitted). Koki knew how to raise the issue of Dr. Pratt’s

qualifications as to claim construction, but it did not do so for direct infringement

or obviousness. Accordingly, Koki’s arguments are forfeited on appeal.

      Notwithstanding waiver, the ALJ’s determination to allow Dr. Pratt’s

testimony for literal infringement and obviousness was not manifest error. As this

Court explained in Montgomery Ward, the tribunal below is in the best position to

judge whether a proposed expert has the “‘knowledge, skill, experience, training,

[and] education’ of a ‘specialized’ nature that was likely to ‘assist the trier of fact

to understand the evidence or to determine’ infringement.” Montgomery Ward,

594 F.3d at 1373 (quoting Fed. R. Evid. 702). The issues of direct infringement

and obviousness (as to the factual questions of the scope and content of the art, and

comparison of the prior art to the claims) were straightforward, unlike

infringement under the doctrine of equivalents, as explained in AquaTex, 479 F.3d

at 1329. The ALJ did not manifestly err in allowing Dr. Pratt to testify about the

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accused device and the prior art for literal infringement and obviousness,

respectively, while preventing Dr. Pratt from testifying as to infringement under

the doctrine of equivalents.

      As this Court recognized in AquaTex, literal infringement is simpler for the

factfinder than infringement under the doctrine of equivalents, and less reliant on

the views of a person of ordinary skill. AquaTex, 479 F.3d at 1328-29. In the

present case, for literal infringement the ALJ performed a “visual inspection” of

the accused products to determine whether the limitations of the asserted claim

limitations were found in the accused products. E.g., Appx44; Appx182-183 (n.7).

The ALJ also considered the accused products’ literature to determine that

limitations were met. See Appx174-175; Appx182-183. The ALJ did not

manifestly err in allowing Dr. Pratt to point the ALJ to present the accused

products or their instructions for the ALJ’s own inspection of them.

      As to obviousness, the issue challenged by Koki on appeal relates to the

teachings of Pedicini. Whether the issue is framed as the scope and content of the

prior art or comparing that prior art with the patent claims, the issue is one of fact.

Norgren, 69 F.3d at 1322. That inquiry is analogous to literal infringement. In

particular, in the present case, the ALJ evaluated the figures of Pedicini to

determine that Pedicini does not disclose the recited “main storage chamber.”

Appx136-141.

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      Infringement under the doctrine of equivalents is a vastly different inquiry,

requiring, on a limitation-by-limitation basis, “particularized testimony and linking

argument as to the insubstantiality of the differences between the claimed

invention and the accused device or process, or with respect to the function, way,

result test,” AquaTex, 479 F.3d at 1328 (quotation and emphasis omitted), all from

the perspective of a POSA, id. at 1329. In so recognizing that the doctrine of

equivalents inquiry was different here from the inquiry for literal infringement or

obviousness, the ALJ did not manifestly err. The ALJ’s evidentiary determinations

should be upheld.


                                  CONCLUSION

      The Commission respectfully requests that its final determination be

affirmed.

                                                Respectfully submitted,

                                                /s/ Clint A. Gerdine
                                                DOMINIC L. BIANCHI
                                                General Counsel
                                                SIDNEY A. ROSENZWEIG
                                                Acting Assistant General Counsel
                                                CLINT A. GERDINE
                                                Attorney Advisor
                                                Office of the General Counsel
                                                U.S. International Trade Commission
                                                500 E Street, SW
                                                Washington, DC 20436
                                                (202) 708-2310
Date: April 23, 2021

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                                            /s/ Clint A. Gerdine
                                            Clint A. Gerdine
                                            Attorney Advisor
                                            Office of the General Counsel
                                            U.S. International Trade
                                            Commission 500 E Street, SW
                                            Washington, DC 20436
                                            Tel: (202) 708-2310
                                            Fax: (202) 205-3111
                                            Clint.Gerdine@usitc.gov

                                            Counsel for Appellee
                                            International Trade Commission
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                           CERTIFICATE OF SERVICE

      I, Clint A. Gerdine, hereby certify on this 23rd day of April 2021 that I filed

the attached BRIEF OF APPELLEE INTERNATIONAL TRADE

COMMISSION using this Court’s CM/ECF system, which will serve the brief on

all counsel of record.



                                                /s/ Clint A. Gerdine
                                                Clint A. Gerdine
                                                Attorney Advisor
                                                U.S. International Trade Commission
                                                500 E Street, SW
                                                Washington, DC 20436
                                                Telephone: (202) 708-2310
                                                Fax: (202) 205-3111
                                                Clint.Gerdine@usitc.gov

                                                Counsel for Appellee
                                                International Trade Commission




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